Case 1:24-cv-00025-LG-RPM Document4- Filed 02/05/24 Pagei1of7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

Vv. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

Nee ee eee ee ae a a

Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Christene Brice,
in her official capacity as member of the Harrison County Election Commission,
9229 Highway 49
Gulfport, MS 39503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

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Date: 02/05/2024

V Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4 Filed 02/05/24 Page 2 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

Vv. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

Nee ee Oe ae aS

Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Toni Jo Diaz,

in her official capacity as member of the Harrison County Election Commission,
9229 Highway 49
Gulfport, MS 39503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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ARTHUR JOHNSTON
CLERK OF COURT

Date: 02/05/2024

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4_ Filed 02/05/24 Page 3of7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

V. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

Nee TN a a aS aS a’

Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Carolyn Handler,
in her official capacity as member of the Harrison County Election Commission,
9229 Highway 49
Gulfport, MS 39503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

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Date: 02/05/2024

V" Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4_ Filed 02/05/24 Page 4of7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

v. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

Nw ee eee eee Ne ae a a

Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Barbara Kimball,

in her official capacity as member of the Harrison County Election Commission,
9229 Highway 49
Gulfport, MS 39503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

Date: 02/05/2024

Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4 Filed 02/05/24 Page 5of7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

V. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

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Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Becky Payne,
in her official capacity as member of the Harrison County Election Commission,
9229 Highway 49
Gulfport, MS 39503

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

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Date: 02/05/2024

“Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4_ Filed 02/05/24 Page 6 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

Vv. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

Nemes Nee eee eee eee ae aS a

Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Watson,
in his official capacity as Secretary of State of Mississippi,
125 S. Congress Street
Jackson, MS 39201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

Date: 02/05/2024

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Signature of Clerk or Deputy Clerk

Case 1:24-cv-00025-LG-RPM Document4- Filed 02/05/24 Page 7of7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

REPUBLICAN NATIONAL COMMITTEE;
MISSISSIPPI REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB

Plaintiff(s)

v. Civil Action No. 1:24cv25 LG-RPM

JUSTIN WETZEL, TONI JO DIAZ, BECKY PAYNE,
BARBARA KIMBALL, CHRISTENE BRICE,
CAROLYN HANDLER, and MICHAEL WATSON

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Defendant(s)

ALIAS
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Justin Wetzel,
in his official capacity as the clerk and registrar of the Circuit Court of Harrison County,
1801 23rd Avenue
Gulfport, MS 39501

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Spencer Ritchie

210 East Capitol Street, Suite 2200
Jackson, MS 39201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

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Signature of Clerk or Deputy Clerk

